Case 1:01-cv-12257-PBS Document 2321-2 Filed 03/24/06 Page 1 of 3

EXHIBIT A

Case 1:01-cv-12257-PBS Document 2321-2 Filed 03/24/06 Page 2 of 3

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

IN RE PHARMACEUTICAL INDUSTRY
AVERAGE WHOLESALE PRICE
LITIGATION

MDL No. 1456

Judge Patti B. Saris
MDL No. 1456
Civil Action No. 01-12257-PBS

THIS DOCUMENT RELATES TO ALL
ACTIONS

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CERTIFICATE OF GOOD STANDING OF JASON BRUNO

Pursuant to Rule 83.5.3 of the Local Rules of the United States District Court for the
District of Massachusetts, I, Jason Bruno, hereby certify that:

1. Tam an associate in the law firm of Dickstein Shapiro Morin & Oshinsky LLP,
which maintains offices at 2101 L Street NW, Washington, DC, 20037;

2. ] am a member in good standing in every jurisdiction where I have been admitted
to practice, which includes the following: the bars of the State of North Carolina, the District of
Columbia, and the United States District Court for the Eastern District of North Carolina;

3. There are no disciplinary proceedings pending against me as a member of the bar

in any jurisdiction; and

DSMDB.2062050.2

Case 1:01-cv-12257-PBS Document 2321-2 Filed 03/24/06 Page 3 of 3

4, 1 am familiar with the facts surrounding this dispute and the Local Rules of the
United States District Court for the District of Massachusetts.

Respectfully submitted,

joker Bruno

March 24, 2006

DSMDB.2062050,2

